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                    UNITED STATES DISTRICT COURT

                         DISTRICT OF MINNESOTA


Brian Thomas Hoyland,

                  Plaintiff,

v.                                      Court File No. 14-cv-02977 SRN/KMM

Shawn McMenomy, individually            PLAINTIFF’S MOTION IN LIMINE
and in his official capacity; Henry     TO PROHIBIT DEFENDANTS
Cho, individually and in his official   FROM RELITIGATING THE ISSUE
capacity; Alex Eckstein,                OF WHETHER PLAINTIFF’S
individually and in his official        ARREST WAS OBJECTIVELY
capacity; Ryan Coughlin,                REASONABLE
individually; and the City of
Rosemount.

                  Defendants.


      COMES NOW plaintiff, Brian Thomas Hoyland, and under the law-of-

the-case doctrine and the holding of the Eighth Circuit Court of Appeals in

Hoyland v. McMenomy, 869 F.3d 644 (8th Cir. 2017); hereby moves the Court

for an order prohibiting the defendants from relitigating the issue of whether

it was objectively reasonable for the officers to mistakenly believe, under the

totality of the circumstances, that Hoyland was obstructing them in the

performance of their official duties. This issue has been finally settled and

determined by the Eighth Circuit. The District Court and the parties are
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bound by the Eighth Circuit’s decision. Defendants should therefore be

prohibited from relitigating an issue that has been finally decided.

      This motion is based upon the court file and all records and proceedings

herein and upon the memorandum of law in support of this motion.


                                       Respectfully submitted,

DATED: November 8, 2017
                                       GOETZ & ECKLAND P.A.



                                 By:         s/Frederick J. Goetz
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